Case 3:22-cv-30059-MGM Document 30-5 Filed 09/12/23 Page 1 of 3




                   Exhibit E
              Case 3:22-cv-30059-MGM Document 30-5 Filed 09/12/23 Page 2 of 3




472 Wheelers Farms Road                                                           Attorney Deborah L. McKenna
Milford, CT 06461                                                         Email: dmckenna@hayberlawfirm.com
Telephone: (203) 691-6491                                                               Mobile: (475) 837-3101
Facsimile: (860) 218-9555                                                              www.hayberlawfirm.com


               VIA EMAIL ONLY TO: BENJAMIN.DAVIS@JACKSONLEWIS.COM

                                                          August 16, 2023

    Benjamin R. Davis
    Jackson Lewis P.C.
    75 Park Plaza, 4th Floor
    Boston, MA 02116
    Benjamin.Davis@jacksonlewis.com

        Re:     Lauren Rollins v. R Street Institute
                Civil Action No.: 3:22-CV-30059

    Dear Attorney Davis,

            Attached to the email accompanying this letter, please find Plaintiff’s supplemental
    production of documents. Notwithstanding this supplemental production, Plaintiff maintains all
    objections raised in her initial responses to Defendant’s Requests for Production of Documents.

            In particular, the documents produced as LR001191-LR001259 are responsive to
    Defendant’s Request for Production #22. As you know, Ms. Rollins’ computer crashed after she
    was fired by R Street, so any additional versions of her resume or job search documents that
    were stored on that computer are no longer available to us to produce. The documents produced
    as LR001260-LR001278 are responsive to Requests for Production #28 and #29.

            As to Defendant’s request that she produce all treatment records for emotional distress,
    Plaintiff is maintaining her objection to Request #34 regarding any treatment records. Ms.
    Rollins has not waived the psychotherapy privilege by making a claim for emotional distress if
    her claim is limited to one of garden variety emotional distress damages. See, Koppel v. Moses,
    2022 WL 17084324 (D. Mass Nov. 8, 2022); Sorenson v. H & R Block, Inc. 197 F.R.D. 199,
    204 (D. Mass 2000) (Vanderbilt v. Town of Chilmark, 174 F.R.D. 225 (D. Mass 1997); Sabree v.
    United Broth. of Carpenters & Joiners of America, 126 F.R.D. 422, 426 (D. Mass 1989). Here,
    Ms. Rollins has not offered expert testimony as to the emotional distress claimed in this lawsuit,
    she does not claim to suffer from a specific diagnosis, and she is limiting her claim to one of
    garden variety emotional distress. As such, she has not waived the psychotherapy privilege.

            Relative to Defendant’s request that she supplement Requests #35-36 with records
    relative to an autism diagnosis and any related treatment, Plaintiff states that she has not sought
    any such adult diagnosis or treatment.
        Case 3:22-cv-30059-MGM Document 30-5 Filed 09/12/23 Page 3 of 3

Letter to B. Davis
August 16, 2023
Page 2 of 2

       Thank you.

                                          Sincerely,

                                          /s/ Deborah L. McKenna
                                          Deborah L. McKenna
